                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                       Plaintiff,

               v.                                                      Case No. 17-CR-113

HELDER RODRIGUEZ,
BRYAN BANKS, and
TOMMIE COLE,

                  Defendants.
______________________________________________________________________________

       MOTION FOR ENTRY OF PRELIMINARY ORDER OF FORFEITURE
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       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Mario F. Gonzales, Assistant United States

Attorney for said District, hereby moves this Court pursuant to Rule 32.2 of the Federal Rules of

Criminal Procedure for an order forfeiting to the United States all right, title and interest in the

following property items described in the Bills of Particulars filed on January 23, 2018 and

February 26, 2018, which added the property items to the forfeiture notice of the Indictment filed

on June 20, 2017:

       1.      A Men’s 2007 Rolex Submariner Watch, bearing serial number M639639,
               seized on or about September 19, 2017, from the residence of defendant Bryan
               Banks located at 3XXX N. 42nd Street, Milwaukee, Wisconsin;

       2.      Approximately $5,432.00 in United States currency seized on or about September
               19, 2017, from the residence of defendant Helder Rodriguez located at 1XXX S.
               70th Street, West Allis, Wisconsin; and
       3.      A Rolex watch bearing serial number 6J275156 seized on or
               about September 19, 2017, from defendant Tommie Cole at or near 2XXX N.
               112th Street, Wauwatosa, Wisconsin.

       This motion is based on the provisions of Title 21, United States Code, Section 853 and

on all proceedings of record in this case. In particular, defendants Helder Rodriguez and Bryan

Banks each plead guilty to Count One of the Indictment, defendant Tommie Cole plead guilty to

Count Two of the Indictment, and pursuant to their respective plea agreements, Helder

Rodriguez, Bryan Banks, and Tommie Cole, agreed to the forfeiture of the property items

described in the bills of particulars and forfeiture notice of the Indictment.

       The United States further moves for the dismissal of a Rolex watch bearing serial number

X897135 seized on or about September 19, 2017, from defendant Tommie Cole at or near 2XXX

N. 112th Street, Wauwatosa, Wisconsin. I have been advised by the Drug Enforcement

Administration that this watch was stolen and will be returned to its rightful owner.

       No affidavit or memorandum is submitted in support of this motion.

       Dated at Milwaukee, Wisconsin, this 19th day of June, 2019.

                                               MATTHEW D. KRUEGER,
                                               United States Attorney

                                          By: s/MARIO F. GONZALES
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